

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,492






EX PARTE ALBERTO D. GARCIA, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. S-06-3426-CR IN THE 156TH DISTRICT COURT


FROM SAN PATRICIO COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to life imprisonment.  The Thirteenth Court of Appeals affirmed his conviction. Garcia
v. State, No. 13-07-00368-CR (Tex. App.-Corpus Christi, August 21, 2008).  

	Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to timely notify Applicant that his conviction had been affirmed. 

	Appellate counsel filed an response with the trial court.  Based on that response, the trial
court has entered findings of fact and conclusions of law that appellate counsel failed to timely notify
Applicant that his conviction had been affirmed.  The trial court recommends that relief be granted. 
Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  We find, therefore, that Applicant is
entitled to the opportunity to file an out-of-time petition for discretionary review of the judgment of
the Thirteenth Court of Appeals in Cause No. 13-07-00368-CR that affirmed his conviction in Case
No. S-06-3426-CR from the 156th  Judicial District Court of San Patricio County.  Applicant shall
file his petition for discretionary review with the Thirteenth Court of Appeals within 30 days of the
date on which this Court's mandate issues.


Delivered: February 9, 2011

Do not publish

				


